                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION - BAY CITY

IN RE:

      JEROME P. REIF,                                             Case No. 15-21097-dob
            Debtor.                                               Chapter 13 Proceeding
_____________________________________/                            Hon. Daniel S. Opperman

                    OPINION REGARDING APPLICATION FOR
             COMPENSATION OF DEBTOR’S COUNSEL, SHEK LAW OFFICES

         Debtor’s counsel, Shek Law Offices, seeks approval of compensation of $8,972.50 for

services rendered in this matter to date. The services described in the instant Fee Application start

May 8, 2015, and continue through November 3, 2016. On July 24, 2015, this Court confirmed the

Debtor’s Chapter 13 Plan and awarded Debtor’s counsel $3,000.00 for services included in the

instant Fee Application.

         Two creditors, Daniel and Gary Day, object to the Fee Application, claiming that many of

the fees were not beneficial to the estate, as well as the fact that certain services are clerical in nature

and involve copying, scanning, and delivery of documents requested by these creditors. In

particular, the Fee Application includes services of this nature on the following dates:


                                 02/17/16        1.0      $150.00
                                 02/18/16        .75      $112.50
                                 02/19/16        .25      $ 37.50
                                 06/06/16        .25      $ 37.50
                                 08/17/16        .25      $ 37.50
                                 10/27/16        1.0      $150.00
                                 11/03/16        1.0      $150.00
                                 Total           4.5      $675.00


         Debtor’s counsel’s Fee Application also reports time in one-quarter hour increments, as

opposed to the tenth of an hour increment as required by Local Bankruptcy Rule 2016-

1(a)(15)(A)(iv). The instant Fee Application contains 37 entries containing one-quarter hour

increments; 4 for Mr. Shek and 33 for Ms. Shek.

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       The Court heard oral arguments regarding the Fee Application on December 22, 2016, and

conditionally awarded $5,000.00 to Debtor’s counsel as the Court was satisfied that counsel should

be compensated for certain services. Given the press of Court business on December 22, 2016,

however, the Court was unable to complete its analysis after hearing oral arguments. This Opinion

is designed to supplement the oral opinion given by the Court in open Court on December 22, 2016,

and addresses the remaining issues that the Court reserved for decision.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate).

                                                Analysis

       Since the instant Fee Application includes services that were previously awarded by way of

the July 24, 2015, Order Confirming Plan, the Court will reduce the instant Fee Application by

$3,000.00 as those fees have already been awarded. As for the 37 entries that violate Local

Bankruptcy Rule 2016-1, the Court notes that 4 of these entries totaling .2 hours are that of Mr.

Shek at the rate of $250.00 per hour, which would reduce the Fee Application by $50.00 and 33 of

these entries totaling 1.65 hours are that of Ms. Shek at the rate of $150.00 per hour, which would

reduce the Fee Application by $247.50. Accordingly, the Court reduces the Fee Application by

$297.50. Next, the Court has reviewed the entries for clerical work and considered the arguments

of counsel. While the Court notes that compensation for clerical work is generally not appropriate,

this is and was an extraordinary case in which the Debtor, and by extension his counsel, was

required to track down a number of documents that were generally available, but not easily

accessible. This required additional work by Debtor’s counsel, which the Court notes. After

consideration of the time entries detailed, the Court concludes that 4.5 hours of the Fee Application

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were devoted to services involving the scanning and sending of documents that may more properly

be described as clerical events. While the Court will not compensate Debtor’s counsel for this time

at the full hourly rate of $150.00 per hour, the Court will allow recovery of 4.5 hours at the rate of

$50.00 per hour for a total recovery of $225.00. Since the Fee Application requested fees for

services rendered in this regard for 4.5 hours at $150.00 per hour, the Court will reduce the $675.00

by $450.00 and still allow the $225.00 as noted by the Court.

       To recap, the instant Fee Application requests fees of $8,972.50. After deducting the

previous fees of $3,000.00 as awarded in the Order Confirming Plan, $5,972.50 remain. Further

deductions of $297.50 and $450.00 are appropriate given the incremental hour adjustment and the

clerical service adjustment to arrive at $5,225.00 as the appropriate fees that should be awarded to

Debtor’s counsel. As the Court has already approved $5,000.00 of fees, the Court approves an

additional $225.00 of fees for Debtor’s counsel for services rendered from May 8, 2015, through

November 3, 2016.

       Counsel for the Debtor is directed to prepare an order consistent with this Opinion and the

presentment of order procedures of this Court.
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Signed on January 06, 2017
                                                         /s/ Daniel S. Opperman
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge




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